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                                          THE CITY OF NEW YORK                                        TALYSIA FRANCIS

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                                                                     September 12, 2023

       BY ECF and Email (ALCarterNYSDChambers@nysd.uscourts.gov)
       Honorable Andrew L. Carter, Jr.
       United States District Judge
       United States District Court
       Southern District of New York
       40 Foley Square, Rm 435
       New York, New York 10007

                       Re: Dowdy, et al. v. City of New York, et al.
                           Docket No. 22-CV-6284 (ALC)

       Dear Judge Carter:

                     I am an Assistant Corporation Counsel in the office of the Hon. Sylvia O. Hinds-
       Radix, Corporation Counsel of the City of New York, attorney for Defendants City of New York
       and the New York City Department of Sanitation (“Defendants”) in the above-referenced action.
       Defendants’ motion to dismiss the First Amended Class Action Complaint was fully submitted as
       of March 30, 2023 and is sub judice. I write to inform Your Honor of the Opinion and
       Recommendation issued by Arbitrator Martin F. Scheinman in Matter of the Arbitration between
       City of New York and Law Enforcement Employees Benevolent Association Industries, Impasse
       Panel: Associate Sanitation Enforcement Agents, dated August 21, 2023, (“Impasse Panel
       Recommendation”) a copy of which is annexed hereto.

                     The Impasse Panel Recommendation may provide the Court with helpful
       background information regarding Plaintiff’s allegation that Sanitation Enforcement Agents and
       Associate Sanitation Enforcement Agents (“ASEAs”) perform comparable work yet receive
       unequal pay as compared to Sanitation Police Officers.

                       We thank the court for its consideration of this submission.

                                                                     Respectfully Submitted,

                                                                     /s/ Talysia Francis
                                                                     Talysia Francis
                                                                     Assistant Corporation Counsel

       Encl.
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